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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------------X Case No. 17-42418 (NHL)
In re:

MARLENE A. MARSHALLECK                                               Chapter 11


                               Debtor.
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REPLY TO 231 BAINBRIDGE LLC’S OBJECTION TO DEBTOR’S APPLICATION TO
    RETAIN EDWARD KING NUNC PRO TUNC AS STATE COURT COUNSEL

The debtor, Marlene Marshalleck responding to the objection of 231 Bainbridge

LLC objection submit as follows:


   1. The objector, 231 Bainbridge LLC is a potential judgment debtor (“PJDs”) who has done
every possible thing to oust the debtor from her home, destroy her relationship with her tenants,

filed paperwork with the state court in violation of the mail and wire fraud laws, 18 U.S.C. §§ 1341

and 1343. The objector and its teams were caught for that mischief and the debtor brought a plenary

proceeding in the state court for relief against PJDs’ atrocious act-- MARLENE MARSHALLECK,

Plaintiff, v. 231 BAINBRIDGE LLC; ELLIOT FRANKEL, GREEN & COHNE P.C., JASON M.

GREEN, Defendants, in the Supreme Court of the State of New York, Kings County, Index No.

15118/2015 (the “State Court Action”). Edward King was retained by the debtor to represent her.


   2. During this time, owing to the foreclosure action, a distinct proceeding, the debtor filed
for Chapter 11 protection. After the filing of the bankruptcy, Ms. Marshalleck has not paid a

single penny to Mr. King.

   3. The PJDs have suddenly become very conscientious participants of a legal process, a far


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cry from what they have done so far. After having claimed and filing notorious ownership papers

in the state court to remove the debtor from her home, they invoked the same nefarious subterfuge

to gain removal time afresh ((removing state proceeding to this Court). This Court could see it and

took cognizance of the same. This objection comes with the same hubris or rather ignorance.

4.     The instant objection is laced with some specious and misleading rhetoric. The PJDs

opposing the nunc pro tunc relief for retention of Mr. King ratchet up their strange objection: “It

is an equitable remedy and the Debtor has unclean hands in how she handled Mr. King’s

relationship to this case, payment of him and the failure to disclose for more than one year the

existence of the state court proceeding.” PJDs’ Obj. ¶ 1.


5.     It just cannot be that PJDs did not know about the state court proceedings, when they have

filed pleadings in the state court and actively participated therein in the conferences? It belies any

simplicity of expression, impression or perception. Mr. King has not been paid after the filing of

the bankruptcy. No major event took place in the state court after the filing of the bankruptcy. The

PJDs sleight with the laws, objections does not hold meaning. There is something else that is

unfolding here, a simple perception resolves the so called litigation strategies of the PJDs. They

just do not want Mr. King to represent the debtor and to that they lack standing. True, pursuant to

section 541 there is a estate here. And 231 Bainbridge LLC is a creditor (disputed though). Being

a creditor alone, does not provide standing vis-à-vis all aspects of the estate. One, all creditors are

secured; second, there is no article III injury to the PJD, and’ third, debtor has a constitutional

right to have an attorney of her choice, it cannot be denied.

6.     The PJDs have failed to show any injury to gain a standing regarding retention of Mr. King,

in light of the fact that the debtor do need an attorney. That “injury in fact” is missing in their

objection. Ass’n of Data Processing Serv. Orgs. v. Camp, 397 U.S. 150, 152 (1970) (“The first



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question is whether the plaintiff alleges that the challenged action has caused him injury in fact,

economic or otherwise.”). The PJD must show what their injury is. McConnell v. FEC, 540 U.S.

93, 225 (2003) (“One element of the ‘bedrock’ case-or-controversy requirement is that plaintiffs

must establish that they have standing to sue. . . . [W]e have reiterated . . . that . . . . a plaintiff must

demonstrate an ‘injury in fact’ . . . .” (citations omitted)). The PJD must come up with an injury

that is “concrete and particularized.” Lujan v. Defenders of Wildlife, 504 U.S. 555, 576-78 (1992).

A real injury, not even a statutory injury—it should be tangible. A ‘concrete’ injury must be ‘de

facto’; that is, it must actually exist. . . . [It must be] ‘real,’ and not ‘abstract.’ Spokeo, Inc. v.

Robins, 136 S. Ct. 1540, 1548 (2016). PJD fails to show any injury. It is true Mr. King would be

an administrative claimant, but that would not impact the PJD at all—they are secured.

8.      No doubt that title 11 might provide some statutory standing ( as this court made an

observation), however that is not enough. See Spokeo, not extending standing article III standing

even though standing granted under the congressional act, Fair Credit Reporting Act (FCRA).

        PJDs further uses this technique (of objecting to the estate retention) to deprive Ms.

Marshalleck of her right to chose an attorney of her choice. The debtor wants Mr. King to represent

here, neither PJD could object, nor can this right be denied, as it has a constitutional protection.

United States v. Gonzalez-Lopez, 48 U.S. 140, 146, 152 (holding that erroneous deprivation of

choice of counsel requires automatic reversal without any need for harmless error analysis - that

is, violation of choice of counsel is "complete" whenever a defendant's chosen advocate is

improperly disqualified). Gonzales-Lopez at 147-148 (stating that choice of counsel is "the root

meaning of the constitutional guarantee"). See also, Goldberg v. Kelly 397 U.S. 254 (1970)

(holding while government need not itself provide welfare recipients with publicly financed




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counsel at pre-termination hearings, government cannot deny recipients the right to secure for

themselves the representation of counsel). Right to Counsel of choice is a part of due process.


9.     The bottom line is that professionals must be both disinterested and not hold or represent

any interest adverse to the estate to be employed under section 327(a). Vouzianas v. Ready & 9

Pontisakos (In re Vouzianas), 259 F.3d 103, 107 (2d Cir. 2001) (citing Bank Brussels Lambert v.

Coan (In re AroChem Corp.), 176 F.3d 610, 621 (2d Cir. 1999)).                 Mr. King fulfills all

requirements. The PJDs have pointed to anything substantive, but are just sore and would not

want the debtor “seek[] to correct a past mistake by seeking to annul same by nunc pro tunc relief.”

But that grievance is misplaced. First, there is no past mistake, second, it is an omission and that

is precisely what nunc pro tunc is supposed to accomplish--to do now what could have been done

in the past. “When a matter is adjudicated nunc pro tunc, it is as if it were done as of the time that

it should have been done.” Edwards v. I.N.S., 393 F.3d 299, 308 (2d Cir. 2004). Bankruptcy Code

does not bar such a relief for retention of professional. Thus, “[w]here nunc pro tunc relief is not

barred by statute, courts have defined the circumstances in which it is appropriate to award such

relief in broad and flexible terms. Thus, courts have suggested that nunc pro tunc relief “should be

granted or refused, as justice may require,”. . . . Id at 310 (quoting Mitchell v. Overman, 103 U.S.

62, 65, 26 L.Ed. 369 (1882). Justice requires that Mr. King be approved now to conclude the State

Court Case proceeding.

       Wherefore, Mr. Edward King appointment be approved on an nunc pro tunc basis from
the commencement of this case.


Dated: July 21, 2017
                                               /s/___________________
                                                 Karamvir Dahiya




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